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 1                               UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                        )
 4                                                    )
 5
                          Plaintiff,                  )        Case No.: 2:16-cr-046-GMN-PAL
            vs.                                       )
 6                                                    )                     ORDER
     CLIVEN D. BUNDY,                                 )
 7                                                    )
                          Defendant.                  )
 8
                                                      )
 9

10          Pending before the Court is Defendant Cliven D. Bundy’s Request that the Time for

11   Filing the Notice of Appeal be Extended. (ECF No. 549). Defendant submits this request in

12   response to an Order by the Court of Appeals for the Ninth Circuit explaining that Defendant’s

13   Notice of Appeal was not timely filed under Federal Rule of Appellate Procedure 4(b)(1)(A).

14   See Order at 1, United States v. Bundy, No. 16-10264 (9th Cir. June 17, 2016). The Ninth

15   Circuit remanded the case to this Court “to provide [Defendant] notice and an opportunity to

16   request that the time for filing the notice of appeal be extended . . . upon a finding of excusable

17   neglect or good cause.” (Id.).

18          For good cause appearing, the Court finds that Defendant’s time for appeal shall be

19   extended an additional thirty days from the fourteen-day time prescribed by Rule 4(b) to file a

20   Notice of Appeal. Defendant filed his Notice of Appeal on June 16, 2016 (ECF No. 533),

21   which is within the time herein extended. Accordingly,

22          IT IS SO ORDERED that Defendant’s Notice of Appeal (ECF No. 533) is timely.

23          The Clerk of the Court shall send a copy of this Order to the Ninth Circuit.

24                      21 day of June, 2016.
            DATED this ___

25                                                        ___________________________________
                                                          Gloria M. Navarro, Chief Judge
                                                          United States District Court
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